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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 KRISTY WAGNER,

                                Plaintiff,                       Civil Action No. 1:16-cv-00568-EGS

                        vs.

 AKIN GUMP STRAUSS HAUER & FELD, LLP,

                                Defendant.


                                    JOINT STATUS REPORT

       In accordance with the Court’s December 8, 2023 Memorandum Opinion and Order (Doc.

No. 103), Defendant Akin Gump Strauss Hauer & Feld LLP (“Akin”) and Plaintiff Kristy Wagner

file this Status Report to provide recommendations for further proceedings.              The Parties

recommend as follows:

       Plaintiff has a pending motion to amend her complaint (Doc. No. 68). Akin agrees that she

may file an amended complaint by no later than March 8, 2024. Plaintiff agrees that Akin shall

file its response to that amended complaint by no later than April 22, 2024.

       Also before the Court is the pending motion of Robert Bunn to be dismissed as guardian

ad litem on the grounds that he is retiring and Plaintiff is represented in this matter by Ms. Green

(Doc. No. 119). If the Court grants this motion, Plaintiff will take all reasonable steps on or before

March 8, 2024 to demonstrate to the satisfaction of the Court her psychological competence to

make all necessary litigation decisions.
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Dated: February 5, 2024       Respectfully submitted,


                                     /s/Robert G. Lian, Jr.
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                                     Counsel for Akin Gump Strauss Hauer & Feld, LLP



                                     /s/ Iris McCollum Green
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                                     Counsel for Kristy Wagner




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 5, 2024, I served the foregoing Joint Status Report
using the Court’s ECF filing system.



                                          /s/Robert G. Lian, Jr.
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